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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


 Powerbox Systems Americas Corp.
 DBA JetCat Turbines Americas,
 A Florida Limited Liability Company           )
                                               )
         Plaintiff,                            )
                                               )
 v.                                            )
                                               )    CASE NO.: 1:24-cv-24038-JAL

 Ingenieurbüro CAT, M.Zipperer GmbH, )
                                     )
       Defendant.                    )
 ____________________________________)

              NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

      Plaintiff, Powerbox Systems Americas Corp. DBA JetCat Turbines Americas, through its

 undersigned counsel, gives notice that pursuant to Rule 41(a)(1)(A)(i) it hereby voluntarily

 dismisses without prejudice this action against Defendant Ingenieurbüro CAT, M.Zipperer GmbH.

                                  CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing Notice of Dismissal

 Of Action Without Prejudice was furnished via e-service through the CM/ECF portal to all

 counsel of record on this 21st of January, 2025.

                                                    Respectfully submitted,

                                                    /s/ Davy Karkason__________________
                                                    Davy Karkason, Esq.
                                                    Florida Bar No. 1031867
                                                    Yann Salomon, Esq.
                                                    Florida Bar No. 1035624
                                                    Transnational Matters, PLLC
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